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IN THE UNITED STATES DISTRICT COURT

 

 

WESTERN I)ISTRICT 0F TENNESSEE 05 JUL |2 PH 5= 31
WESTERN l)IvIsIoN
EZINE D. ANDERSON,
Plaintiff,
vs. No. 04-2418 Ma V
sCHNUCK MARKETS, INC,
Defendant.

 

AGREED PRO'I`ECTIVE ORDER

 

CAME THE PARTIES and advised the Court that, in recognition that any and all
information or data concerning, reflecting or pertaining to the security and operating budgets of
defendant Schnuck Markets, lnc. (“Schnucks”) is proprietary in nature, they have agreed and
consented to the entry of this order protecting the confidentiality of all records, documents and
information, including deposition testimony, produced or given by Schnucks or any employee or
agent of Schnucks, concerning, reflecting or pertaining to any and all budgetary information as to
the Schnucks store on Shelby Drive, where the incident giving rise to this litigation occurred, or
as to Schnucks’ generally Accordingly, the parties hereby agree:

l. Any records, documents or information of any kind relating to or containing
budget, financial and proprietary trade secrets, including deposition testimony (hereinafter
“budgetary information”), produced or given by Schnucks through its agents and employees or
through Schnucks’ counsel of record in response to formal requests for discovery, including
notices of depositions, to or for the benefit of plaintiff, shall be treated by plaintiff and his

attorneys and experts, consulting or testifying, as confidential

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2. No budgetary information shall be shared With, given or sent to, or reviewed or
read by any person, including corporations, other than plaintiff (excluding members of plaintiff s
farnily, who are expressly prohibited from having access to the budgetary information),
plaintiffs attorneys or their assistants and paralegals, or an expert for plaintiff

3. Plaintiff, his attorneys and Ms. Martinez shall take all reasonable steps to ensure
that the confidentiality of the budgetary information is preserved, including, without limitation:
The attorneys must advise plaintiff, their assistants and paralegals, and all experts retained by the
attorneys for purposes of consultation or testimony of this order and its terms.

4. At the conclusion of this litigation by a final order or judgment not subject to
appeal, plaintiff’ s attorneys shall, Within a reasonable time following entry of the non-appealable
order or judgment, not to exceed thirty (30) days from the entry of the order or judgment, collect
from all persons to whom access of the budgetary information was allowed (except to the extent
that any of the budgetary information is or is part of a trial exhibit on file with the trial court or
an appellate court and thus unavailable to the attorneys) all originals and copies of the budgetary
information, and he, she or they shall return to Schnucks’ attorneys all such budgetary
information No person, attorneys or otherwise, shall be permitted to retain any original or copy
of any such budgetary inforrnation, other than deposition transcripts; provided, however, that any
deposition containing budgetary information shall remain confidential and shall not be shared
with, given or sent to, or reviewed or read by any person, including corporations, unless all
portions of the deposition containing confidential information are first removed or excised from
the deposition transcript and any disks or other electronically generated directory (e.g. Word

Perfect or Word).

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6. The terms of this order specifically, but without limitation, prohibit, during the
pendency of the action or after its conclusion, the sharing of any information deemed
confidential under this order With any organization which maintains a database which can be
accessed by or used by any member or nonmember of the organization, including, without
limitation (and by Way of example only), the American Trial Lawyers Association and the

Tennessee Trial Lawyers Association.

 

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Bi'i,\f>e S. Kramer 7 _( (`d§'

Elaine E. Sheng
Attomeys for Plaintiff`

  

 

 

ram, Jr.
David E. Goodman, Jr
Attorneys for Schnucks

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IT IS SO ORDERED THIS /¢? DAY OF JULY, 2005.

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UNITED STATES MAGISTRATE JUDGE

   
       

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CV-024l 8 was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

